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       EXHIBIT 18
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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA


 LIGTEL COMMUNICATIONS, INC.,

                                Plaintiff,

                        v.

 BAICELLS TECHNOLOGIES INC.;                               Case No. 1:20-cv-00037-HAB-SLC
 BAICELLS TECHNOLOGIES NORTH AMERICA
 INC.,

                                Defendants.




      DEFENDANTS’ ANSWERS AND OBJECTIONS TO LIGTEL’S FIRST SET OF
                          INTERROGATORIES

        Defendants, Baicells Technologies Inc. and Baicells Technologies North America Inc.

 (“Baicells” or “Defendants”), pursuant to Rules 26 and 33 of the Federal Rules of Civil

 Procedure, respectfully submit the following Answers and Objections (the “Answers and

 Objections”) to Plaintiff LigTel Communications, Inc.’s (“LigTel” or “Plaintiff”) First Set of

 Interrogatories (the “Interrogatories”).

                                     PRELIMINARY STATEMENT

        Defendants have not, at this time, fully completed their discovery and investigation in

 this action. All information contained herein is based solely upon such information and evidence

 as is presently available and known to Defendants upon information and belief at this time.

 Defendants will supplement their responses to the Interrogatories under Fed. R. Civ. P. 26(e) as

 necessary.
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         OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS AND GENERAL OBJECTIONS

        1.      Baicells’ Answers and Objections are subject to these general objections set forth

 below, all of which are expressly preserved and not waived, whether or not stated in a particular

 response, and Baicells’ responses are framed on the basis of these general objections.

        2.      Baicells has based its Answers and Objections on the assumption that LigTel did

 not intend to seek information protected against discovery by the attorney-client privilege, the

 work-product doctrine, or any other applicable privilege or immunity.          To the extent the

 Interrogatories call for such information, Baicells objects and asserts these privileges and

 immunities to the fullest extent and does not waive any such privileges and immunities.

        3.      Baicells objects to the extent that LigTel attempts through the Interrogatories to

 impose obligations upon Baicells greater than those imposed by the Federal Rules of Civil

 Procedure.

        4.      Baicells objects to the extent that the Instructions and Definitions of the

 Interrogatories are overly broad, unreasonable, and unduly burdensome.

        5.      Baicells objects to the Interrogatories’ definition of the term “LigTel HNI Code”

 as referring to the Home Network Identity (“HNI”) code (also known as a Public Land Mobile

 Network, or “PLMN”) 311-980 or the five-digit code 31198. The first three digits of LigTel’s

 HNI code—311—represent a Mobile Country Code (“MCC”) for the United States, and the

 remaining three digits—980—represent a Mobile Network Code (“MNC”). The five-digit code

 31198 has never been registered to or used by LigTel and is not LigTel’s HNI Code or PLMN.

        6.      Baicells objects to providing expedited answers to any of the Interrogatories

 which are not reasonably related to the pending Motion for Preliminary Injunction, as additional




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 time is needed to properly address issues that are broader in scope than those issues raised in the

 preliminary injunction request.

        7.      Baicells objects to the Interrogatories that contain multiple subparts to the extent

 that any subpart should be identified and considered its own interrogatory, as a way to avoid the

 limit on the number of allowed interrogatories. Baicells reserves the right to object to and not

 respond to the present and any future interrogatories served by LigTel to the extent that they

 exceed the applicable limit.

        8.      In answering the Interrogatories, Baicells does not concede the relevancy,

 materiality, or admissibility of any of the information or documents sought therein. Baicells’

 Answers and Objections will be made subject to, and without waiving, any objections as to

 relevancy, materiality, or admissibility.

        9.      A statement that documents will be produced in response to a particular

 interrogatory is not an admission that any such documents exist.

        These Objections to Instructions and Definitions and General Objections are specifically

 incorporated into each of the individual answers that follow. Subject to and without waiving any

 of the foregoing objections, Baicells states:

                   SPECIFIC ANSWERS AND OBJECTIONS TO INTERROGATORIES

        INTERROGATORY NO. 1:                     On what date did you first adopt, implement, use or

 first encourage, instruct, or direct third parties to adopt, implement, or use the LigTel HNI Code

 (including 311980 and 31198)?

        ANSWER:         Baicells objects to Interrogatory No. 1 on the basis that as used in this

 interrogatory, the terms “adopt”, “implement,” and “use” are vague and ambiguous. Baicells



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 further objects to the use of the term LigTel Home Network Identity (“HNI”) Code to refer to the

 five-digit code “31198.”

         Subject to and without waiving its objections, Baicells states as follows:

         31198 is not LigTel’s HNI Code. The HNI Code of 31198 has never been registered to

 or used by LigTel. 311-980 is LigTel’s HNI Code. Baicells has never adopted, implemented,

 used, encouraged, instructed, or directed third parties to adopt, implement, or use LigTel’s HNI

 Code. Baicells has used an HNI code or PLMN (“Public Land Mobile Network”) of 31198.

         Upon information and belief, in or about November 2015, research and development

 engineers adopted the PLMN of 31198 after determining that the full list of assigned PLMN

 numbers in the United States contained no five-digit numbers.

         Upon information and belief, Baicells first used the PLMN of 31198 outside the lab

 environment on or about June 2016 when a Baicells customer first tested prototype Baicells

 equipment and CloudCore Evolved Packet Core (“EPC”).

         Upon information and belief, Baicells first instructed its customers to use a PLMN of

 31198 on or about June 2016 when Baicells first shipped commercial production equipment to

 trial operators.

         INTERROGATORY NO. 2:                  Identify and describe all facts and circumstances

 concerning your decision to adopt, implement, use, and encourage, instruct, or direct third parties

 to use the LigTel HNI Code (including 311980 and 31198).

         ANSWER:        Baicells objects to Interrogatory No. 2 on the basis that as used in this

 interrogatory, the terms “adopt”, “implement,” and “use” are vague and ambiguous. Baicells

 further objects on the basis that the phrase “all facts and circumstances” is overly broad and



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 unduly burdensome. Baicells further objects to the use of the term LigTel HNI Code to refer to

 the code “31198.”

         Subject to and without waiving its objections, Baicells states as follows:

         31198 is not LigTel’s HNI Code. The HNI Code of 31198 has never been registered to

 or used by LigTel. 311-980 is LigTel’s HNI Code. Baicells has never adopted, implemented,

 used, encouraged, instructed, or directed third parties to adopt, implement, or use LigTel’s HNI

 Code. Baicells has used an HNI Code or PLMN of 31198.

         Upon information and belief, in or about November 2015, research and development

 engineers adopted the PLMN of 31198 after determining that the full list of assigned PLMN

 numbers in the United States contained no five-digit numbers.

         Upon information and belief, Baicells first used the PLMN of 31198 on or about June

 2016 when a Baicells customer first tested prototype Baicells equipment and CloudCore EPC.

         Upon information and belief, Baicells first instructed its customers to use a PLMN of

 31198 on or about June 2016 when Baicells first shipped commercial production equipment to

 trial operators.

         INTERROGATORY NO. 3:                  On what date did LigTel give you authorization or

 permission to adopt, implement, use, or direct third parties to adopt, implement, or use the

 LigTel HNI Code (including 311980 and 31198)?

         ANSWER:        Baicells objects to Interrogatory No. 3 on the basis that as used in this

 interrogatory, the terms “authorization,” “permission,” “adopt”, “implement,” and “use” are

 vague and ambiguous. Baicells further objects to the use of the term LigTel HNI Code to refer

 to the code “31198.”

         Subject to and without waiving its objections, Baicells states as follows:

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        31198 is not LigTel’s HNI Code. The HNI Code of 31198 has never been registered to

 or used by LigTel. 311-980 is LigTel’s HNI Code. Baicells has never adopted, implemented,

 used, encouraged, instructed, or directed third parties to adopt, implement, or use LigTel’s HNI

 Code. Baicells has used an HNI Code or PLMN of 31198.

        Baicells has never sought authorization or permission from LigTel to use the five-digit

 HNI Code of 31198 because that code is inherently different from LigTel’s six-digit HNI Code

 of 311-980—e.g., PLMN ID 311-980 is encoded as 0x139108, while 31198 will be encoded as

 0x13F189. Baicells has no obligation, legal or otherwise, to seek permission from LigTel to use

 a five-digit HNI Code that LigTel does not own.

        INTERROGATORY NO. 4:                  Identify and describe all facts and circumstances

 concerning your authorization or permission to adopt, implement, use, or encourage, instruct, or

 direct third parties to use the LigTel HNI Code (including 311980 and 31198).

        ANSWER:        Baicells objects to Interrogatory No. 4 on the basis that as used in this

 interrogatory, the terms “authorization,” “permission,” “adopt”, “implement,” and “use” are

 vague and ambiguous.      Baicells further objects on the basis that the phrase “all facts and

 circumstances” is overly broad and unduly burdensome. Baicells further objects to the use of the

 term LigTel HNI Code to refer to the code “31198.”

        Subject to and without waiving its objections, Baicells states as follows:

        31198 is not LigTel’s HNI Code. The HNI Code of 31198 has never been registered to

 or used by LigTel. 311-980 is LigTel’s HNI Code. Baicells has never adopted, implemented,

 used, encouraged, instructed, or directed third parties to adopt, implement, or use LigTel’s HNI

 Code. Baicells has used an HNI Code or PLMN of 31198.



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        Baicells has never sought authorization or permission from LigTel to use the five digit

 HNI Code of 31198 because that code is inherently different from LigTel’s six-digit HNI Code

 of 311-980—e.g., PLMN ID 311-980 is encoded as 0x139108, while 31198 will be encoded as

 0x13F189. Baicells has no obligation, legal or otherwise, to seek permission from LigTel to use

 a five-digit HNI Code that LigTel does not own.

        INTERROGATORY NO. 5:                  On what date did you cease to adopt, implement,

 use, or direct third parties to adopt, implement, or use the LigTel HNI Code (including 311980

 and 31198)?

        ANSWER:        Baicells objects to Interrogatory No. 5 on the basis that as used in this

 interrogatory, the terms “cease,” “direct,” “adopt”, “implement,” and “use” are vague and

 ambiguous. Baicells further objects to the use of the term LigTel HNI Code to refer to the code

 “31198.”

        Subject to and without waiving its objections, Baicells states as follows:

        31198 is not LigTel’s HNI Code. The HNI Code of 31198 has never been registered to

 or used by LigTel. 311-980 is LigTel’s HNI Code. Baicells has never adopted, implemented,

 used, encouraged, instructed, or directed third parties to adopt, implement, or use LigTel’s HNI

 Code. Baicells has used an HNI Code or PLMN of 31198.

        Baicells outlined its transition process from PLMN 31198 to PLMN 314-030 in detailed

 reports that Baicells provided to the Alliance for Telecommunications Industry Solutions

 (“ATIS”). ATIS is a nationally and globally accredited organization “where ICT [Information

 and Communications Technology] companies convene to find solutions to their most pressing

 shared challenges.”   See https://sites.atis.org/insights/atis-overview/, (last visited March 22,

 2020). Those reports were provided to ATIS in November 2019, December 2019, February

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 2020, and March 2020, and are being produced in response to LigTel’s First Set of Requests for

 Production to Baicells. ATIS agreed that Baicells should work toward a complete transition by

 the end of July 2020. The transition to PLMN 314-030 is well under way, but not yet complete.

        As stated in the most recent status report to ATIS, dated March 18, 2020, Baicells has

 completed the upgrade of firmware software necessary to support its customers’ transition to

 PLMN 314-030, and Baicells is engaged in an aggressive campaign to convince operators to

 upgrade all eNodeB software. An “eNodeB” is an LTE term that refers to the base station that

 facilitates wireless communication between the operator network and user equipment. The

 antenna of the eNodeB is commonly installed on radio towers. The completion of the eNodeB

 software upgrade will result in all operator eNodeBs broadcasting the PLMN 314-030.

        In addition, Baicells is working to release new PLMN Subscriber Identity Module

 (“SIM”) cards to sales channels and distributors to send to end users for replacement. However,

 supply chain disruptions and complications due to COVID-19 have delayed some future

 shipments.

        In the interim, end users with equipment containing the original SIM cards cannot cause

 interference with LigTel’s network or equipment, because SIM cards do not broadcast the

 PLMN. Rather, SIM cards are used to authenticate end users to a network, and each SIM card is

 programmed with unique authentication keys. It is not possible for a SIM card to authenticate to

 a network unless the exact authentication keys and associated International Mobile Subscriber

 Identity (“IMSI”) number are programmed into the network operator’s EPC, also known as the

 core network. Thus, end users cannot cause interference with LigTel’s network or equipment.




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         INTERROGATORY NO. 6:                  Identify and describe all facts and circumstances

  concerning your decision to cease to adopt, implement, use, or direct third parties to adopt,

  implement, or use the LigTel HNI Code (including 311980 and 31198).

         ANSWER:        Baicells objects to Interrogatory No. 6 on the basis that as used in this

  interrogatory, the terms “cease,” “direct,” “adopt”, “implement,” and “use” are vague and

  ambiguous. Baicells further objects on the basis that the phrase “all facts and circumstances” is

  overly broad and unduly burdensome. Baicells further objects to the use of the term LigTel HNI

  Code to refer to the code “31198.”

         Subject to and without waiving its objections, Baicells states as follows:

         31198 is not LigTel’s HNI Code. The HNI Code of 31198 has never been registered to

  or used by LigTel. 311-980 is LigTel’s HNI Code. Baicells has never adopted, implemented,

  used, encouraged, instructed, or directed third parties to adopt, implement, or use LigTel’s HNI

  Code of 311-980. Baicells has used an HNI Code or PLMN of 31198.

         Immediately upon learning that there was an issue with regard to the PLMN 31198,

  Baicells began researching how to apply for a different PLMN through iConectiv. iConectiv is

  the United States International Mobile Subscriber Identity (“IMSI”) Administrator which

  administers the HNI codes on behalf of the United States Department of State. Before Baicells

  learned of any issue, Baicells was unaware that the five-digit PLMN number selected by Baicells

  engineers was similar to a six-digit PLMN in use by another operator.

         On July 10, 2019, Baicells Technologies North America staff had a conference call to

  discuss the issue that LigTel raised with respect to the PLMN. The very next day, on July 11,

  2019, the Baicells Technologies North America staff held a second call to discuss the procedure

  for Baicells to obtain a six-digit PLMN.

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         On July 22, 2019—within two weeks of learning of the issue with the PLMN—Andy

  Yang, then Director of Engineering and Support, Baicells Technologies North America,

  submitted an application to iConectiv for a new PLMN number.

         On July 29, 2019, Baicells was granted PLMN 314-030. That same day, July 29, 2019,

  Baicells Technologies North America representatives—including Bo Wei, then President and

  CEO, Rick Harnish, Chief Marketing Officer, and Ronald Mao, Director of Carrier Solutions—

  met with representatives of LigTel—including Randy Mead, CEO and General Manager, Josh

  Wentworth, Network Operations Supervisor, and Mike Troup, Network Operations Manager &

  Marketing—in Ligonier, Indiana, in an attempt to resolve any issues regarding the PLMN

  numbers. Without prior notice to Baicells, LigTel’s outside counsel, Cary Mitchell and John

  Prendergast, attended and controlled the meeting. Baicells was not represented by counsel at this

  meeting.

         Baicells determined to migrate to a new PLMN code rather than accede to LigTel’s

  demands that Baicells pay LigTel One Million Dollars ($1,000,000.00) to transfer LigTel’s HNI

  Code to Baicells.

         INTERROGATORY NO. 7:                  Identify and describe the basis in any rules or

  regulations promulgated by any government or industry organization supporting your decision to

  adopt, implement, use, or direct third parties to adopt, implement, or use the LigTel HNI Code

  (including 311980 and 31198).

         ANSWER:        Baicells objects to Interrogatory No. 7 on the basis that as used in this

  interrogatory, the terms “adopt”, “implement,” and “use” are vague and ambiguous. Baicells

  further objects to the use of the term LigTel HNI Code to refer to the code “31198.”

         Subject to and without waiving its objections, Baicells states as follows:

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         31198 is not LigTel’s HNI Code. The HNI Code of 31198 has never been registered to

  or used by LigTel. 311-980 is LigTel’s HNI Code. Baicells has never adopted, implemented,

  used, encouraged, instructed, or directed third parties to adopt, implement, or use LigTel’s HNI

  Code of 311-980. Baicells has used an HNI Code or PLMN of 31198.

         Historically, HNI codes have been assigned to mobile network operators with

  international roaming capabilities (which Baicells is not), and not to equipment manufacturers

  (which Baicells is).      Therefore, historically, the rules and regulations applicable to the

  assignment of HNI codes have not applied to Baicells in the testing, manufacturing, shipment,

  and use of its equipment.

         It is quite common for LTE equipment manufacturers to use five-digit HNI codes to

  develop and test software and equipment. After testing and inventing the first cloud-based LTE

  EPC, CloudCore, Baicells continued to use the originally selected five-digit PLMN ID (31198).

  Because commercial use of mobile PLMN codes in the U.S. typically involves a six-digit code—

  a three-digit Mobile Country Code (“MCC”), followed by a three-digit Mobile Network Code

  (“MCC”)—the possibility of confusion with another PLMN did not appear to pose any issue.

         INTERROGATORY NO. 8:                  Identify and describe all facts and circumstances

  surrounding your application for the BaiCells HNI Code (i.e. 314030), including when you

  applied for the BaiCells HNI Code (i.e. 314030) and why you applied for the BaiCells HNI Code

  (i.e. 314030) at that time.

         ANSWER:         Baicells objects to Interrogatory No. 8 on the basis that the phrase “all

  facts and circumstances surrounding your application” is vague and ambiguous, as well as overly

  broad and unduly burdensome.

         Subject to and without waiving its objections, Baicells states as follows:

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            Baicells chose to apply for an HNI Code after being alerted that the code Baicells was

  using, 31198, was similar to LigTel’s HNI Code of 311-980.

            On July 2, 2019, Sam Tetherow of Sand Hills Wireless in Nebraska, a division of Future

  Technologies, received a Cease and Desist Letter from an attorney representing LigTel. He

  submitted ticket number 15724 to support_na@baicells.com asking for Rick Harnish to give him

  a call.

            On July 9, 2019, Rick Harnish called Mr. Tetherow. Mr. Tetherow informed Mr. Harnish

  that he was told by LigTel that a company called Viaero Wireless claimed they were receiving

  spectrum interference in the 3.65-3.70 GHz shared spectrum band from someone using LigTel

  Communications HNI number 311-980. Mr. Tetherow further reported that Viaero Wireless had

  contacted LigTel when they mistakenly identified Baicells’ HNI 31198 as LigTel’s HNI 311-

  980. Mr. Tetherow said he had temporarily resolved the issue with LigTel’s Josh Wentworth.

            On July 9, 2019, Steve Barnes of New Lisbon Telephone Company called Mr. Harnish.

  Mr. Barnes said his manager, John Greene, had been contacted by LigTel’s manager, Randy

  Mead, to ask questions about Baicells equipment and SIM card IMSI numbers, knowing that

  New Lisbon was using Baicells equipment.

            On July 10, 2019, Baicells North America staff had a conference call to discuss the issue

  regarding the PLMN. The team discussed, inter alia:

                The process of working with iConectiv to obtain a PLMN assignment and then

                   the possibility of converting all subscribers to that new PLMN;

                Whether Baicells was qualified to obtain a PLMN/HNI assignment in light of the

                   requirement that the HNI applicant be, and certify that it is, a public network




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                 operator (commercial or government), or an authorized agent operating on behalf

                 of a public network operator; and

              The possibility of acquiring LigTel’s PLMN.

          On July 11, 2019, Andy Yang hosted a LigTel strategy conference call.

          On July 13, 2019, iConectiv responded to Andy Yang’s questions about applying for a

  PLMN/HNI number.

          On July 22, 2019, Andy Yang filed an application with iConectiv to obtain a new

  PLMN/HNI number.

          On July 29, 2019, Baicells was assigned HNI number 314-030 by iConectiv/ATIS.

          INTERROGATORY NO. 9:                Identify the HNI code that you use for new

  customers, encourage, instruct, or direct third parties to use, and program into equipment

  provided to new customers.

          ANSWER:       As per the Baicells PLMN Migration Plan submitted to ATIS and each of

  the updates that followed in November 2019, December 2019, February 2020, and March 2020,

  Baicells has now updated all instructional and online material to reflect the new 314-030 HNI

  code.


          INTERROGATORY NO. 10:               On what date did you first migrate BaiCells’s

  equipment or customers from the LigTel HNI Code (including 311980 and 31198) to the

  BaiCells HNI Code (i.e. 314030), and on what date will you have fully and completely migrated

  all customers and equipment from the LigTel HNI Code (including 311980 and 31198) to the

  BaiCells HNI Code (i.e. 314030)?

          ANSWER:       As per the Baicells PLMN Migration Plan submitted to ATIS in

  November 2019 and each of the updates that followed in December 2019, February 2020, and
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  March 2020, Baicells began migrating customers from September 23, 2019 and expects the

  migration to be completed by July 2020. Baicells has acted in good faith to advance the progress

  of this transition as rapidly as logistically and technically feasible.


          INTERROGATORY NO. 11:                   Identify the number of wireless providers associated

  with BaiCells or that use BaiCells’s equipment, and the number of customers of those wireless

  providers associated with BaiCells or that use BaiCells’s equipment, that use or have used the

  LigTel HNI Code (including 311980 and 31198)?

          ANSWER:         Baicells objects to Interrogatory No. 11 on the basis that it is overly broad,

  unduly burdensome, and seeks information that is not proportional to the needs of the case, as the

  burden of such discovery outweighs its likely benefit. Baicells further objects to the use of the

  term LigTel HNI Code to refer to the code “31198.”

          Subject to and without waiving its objections, Baicells states as follows:

          31198 is not LigTel’s HNI Code. The HNI Code of 31198 has never been registered to

  or used by LigTel. 311-980 is LigTel’s HNI Code. Baicells has never used LigTel’s HNI Code.

  Baicells has used an HNI Code or PLMN of 31198.

          As of March 23, 2020, to the best of Baicells’ information and belief, there were:

               544 Unique Operators;

               131 Unique Operators (24% of all Unique Operators) with eNodeBs broadcasting
                PLM 314-030;

               2,982 Online eNodeBs;

               651 Online eNodeBs (21.8% of all Online eNodeBs) broadcasting PLMN 314-
                030;

               26,248 end users; and

               26,152 end users with a SIM card containing the PLMN 31198.

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         INTERROGATORY NO. 12:                  Identify and describe all facts and circumstances

  concerning your migration of customers and equipment using the LigTel HNI Code (including

  311980 and 31198) to the BaiCells HNI Code (i.e. 314030), including any difficultly or hardship

  that you experience or expect to experience in migrating your customers and equipment from the

  LigTel HNI Code (including 311980 and 31198) to the BaiCells HNI Code (i.e. 314030).

         ANSWER:         Baicells objects to Interrogatory No. 12 on the basis that the terms “all

  facts and circumstances surrounding your migration” are vague and ambiguous, as well as overly

  broad and unduly burdensome. Baicells further objects to the use of the term LigTel HNI Code

  to refer to the code “31198.”

         Subject to and without waiving its objections, Baicells states as follows:

         31198 is not LigTel’s HNI Code. The HNI Code of 31198 has never been registered to

  or used by LigTel. 311-980 is LigTel’s HNI Code. Baicells has never adopted, implemented,

  used, encouraged, instructed, or directed third parties to adopt, implement, or use LigTel’s HNI

  Code of 311-980. Baicells has used an HNI Code or PLMN of 31198.

         Migrating the PLMN requires Baicells to build a new Cloud EPC environment (adding

  new servers) which uses a different PLMN (i.e., 314-030). Baicells’ EPC software only supports

  one PLMN, so creating a new environment is necessary.

         Migrating the PLMN requires Baicells to build new eNodeB software update to leverage

  the new Cloud EPC environment. The software update will change all EPC-related parameters

  to use the new Cloud EPC environment in order to use PLMN 314-030.

         After new Cloud EPC environment and eNodeB software is ready, a trial period is run to

  check for bugs and confirm stability. After all bugs have been fixed and stability confirmed, the

  software is then released to the public as GA (general availability).

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         GA software release dates, based on the eNodeB model, were:

                 Nova 227/233/243: January, 2020;

                 Nova 436Q: March, 2020; and

                 LTE-U: March, 2020.

         After all eNodeB software was released as GA, a formal announcement was made on

  March 18 that we will be retiring the old PLMN (31198) and requesting that all customers

  upgrade to the latest GA software releases before we shut down the old EPC environment.

  Baicells will be producing a copy of that announcement as part of its response to LigTel’s First

  Set of Requests for Production of Documents.

         Additionally, starting from October 25, 2019, all SIM cards shipped by Baicells are

  programmed with the new PLMN (314-030).

         INTERROGATORY NO. 13:                 Identify and describe your use of the BaiCells HNI

  Code (i.e. 314030), your use of the LigTel HNI Code (including 311980 and 31198), and your

  use of any other HNI Code.

         ANSWER: Baicells objects to Interrogatory No. 13 on the basis that as used in this

  interrogatory, the phase “your use” is vague and ambiguous. Baicells further objects to this

  interrogatory as overly broad and unduly burdensome. Baicells further objects to the use of the

  term LigTel HNI Code to refer to the code “31198.”

         Subject to and without waiving its objections, Baicells states as follows:

         Baicells is currently transitioning CloudCore EPC programming and eNodeB base station

  firmware to use HNI code 314-030 according to its transition plan.




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           Baicells has transitioned CloudCore EPC programming away from using HNI code

  31198. Baicells is still transitioning customer-owned eNodeB firmware to cease using HNI code

  31198.

           Baicells has never used LigTel’s HNI code of 311-980.

           INTERROGATORY NO. 14:                 Identify and describe all communications with your

  customers concerning the LigTel HNI Code (including 311980 and 31198), the BaiCells HNI

  Code (i.e. 314030), and any other HNI Code.

           ANSWER:        Baicells objects to Interrogatory No. 14 on the basis that it is overly broad

  and unduly burdensome. Baicells further objects that this interrogatory seeks information that is

  not proportional to the needs of the case, as the burden of such discovery outweighs its likely

  benefit. Baicells further objects to the use of the term LigTel HNI Code to refer to the code

  “31198.”

           Subject to and without waiving its objections, Baicells states as follows:

           Communications with Baicells customers regarding HNI code 31198 and 314-030 are

  being produced in response to Plaintiff’s First Set of Requests for Production, and those

  documents include, without limitation, the following communications related to the transition to

  HNI code 314-030:

               January 29, 2020 Forum and Facebook Announcement;

               February 14, 2020 Baiweekly Newsletter;

               March 18, 2020 Forum and Facebook Announcement 1; and

               March 18, 2020 Forum and Facebook Announcement 2.

           INTERROGATORY NO. 15:                 Identify and describe all facts and circumstances

  concerning your recruitment, hiring, and retention of Ronald Mao, and concerning your
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  recruitment, hiring, and retention of any other person affiliated with BaiCells who previously

  worked for a company that had access to information concerning LigTel, and LigTel’s

  encryption code, network architecture, network engineering, business, and business model.

         ANSWER:        Baicells objects to Interrogatory No. 15 on the basis that it is vague,

  ambiguous, overly broad, and unduly burdensome. Baicells further objects on the basis that it

  cannot reasonably ascertain or determine the information available to each former employer of

  each Baicells employee. Baicells further objects on the basis that the information sought is not

  proportional to the needs of the case at this stage, as the burden or expense of this interrogatory

  outweighs its likely benefit in resolving disputed issues related to the pending Motion for

  Preliminary Injunction.

         Subject to and without waiving its objections, Baicells states as follows:

         Ronald Mao started at Baicells on January 1, 2018. He was on the LigTel account for

  technical sales at his previous job. LigTel was not part of his conversation with Baicells

  throughout the hiring process. Mr. Mao first inquired about job opportunities at Baicells in

  August 2017. Mr. Mao’s job interview was with Jesse Raasch in September 2017, and Patrick

  Leary (then President, Baicells Technologies North America), Minchul Ho (Vice President of

  Operations and Vertical Markets, Baicells Technologies North America), Bob Stone (Director of

  Carrier Markets, Baicells Technologies North America), and Cameron Kilton (then Director of

  Tier 2 and Vertical Engineering Services, Baicells Technologies North America) in December

  2017. Mr. Mao has never had access to LigTel’s encryption code. Mr. Mao’s knowledge of

  LigTel’s network architecture, network engineering, business, and business model was limited to

  what, if anything, LigTel shared with him, and any such knowledge was not relevant to Baicells’

  decision to hire him. Mr. Mao took no information about LigTel from his former employment,

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  and has not been in possession of, or had access to, any such information since he left his prior

  employment.

           INTERROGATORY NO. 16:                 Identify the date on which you first learned any

  information about LigTel, LigTel’s encryption code, network engineering, business, and business

  model.

           ANSWER:        Baicells objects to Interrogatory No. 16 on the basis that the term “any

  information about LigTel” is vague and ambiguous. Baicells further objects to this interrogatory

  as overly broad and unduly burdensome.

           Subject to and without waiving its objections, Baicells states as follows:

           Baicells first learned that LigTel had taken issue with Baicells’ use of HNI code 31198 in

  July 2019 when Mr. Tetherow contacted Mr. Harnish regarding the incident involving Viaero

  Wireless and LigTel. Baicells has no information regarding LigTel’s encryption code or network

  engineering, and its knowledge of LigTel’s business and business model is limited to what

  LigTel has told Baicells, and any publicly available information.          Baicells has never done

  business with LigTel. LigTel is not a customer of Baicells. LigTel is not a competitor of

  Baicells.

           INTERROGATORY NO. 17:                 Identify all documents that are relevant to each of

  the foregoing interrogatories, designating the number of each interrogatory for which such

  documents are relevant.

           ANSWER: Baicells objects to Interrogatory No. 17 on the basis that it is overly broad

  and unduly burdensome, as there may be voluminous documents that are potentially “relevant”

  to each of the foregoing interrogatories. Baicells further objects to the term “relevant” as it is

  used in this interrogatory as vague and ambiguous. Subject to and without waiving the foregoing
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  objections, Baicells will make a reasonable effort to supplement its answer to this interrogatory

  following the completion of its document production(s) in this matter under Fed. R. Civ. P. 26(e)

  as necessary.


         INTERROGATORY NO. 18:                    Identify all persons that furnished information for

  the response to these interrogatories, designating the number of each interrogatory for which

  such persons furnished information.

         ANSWER:


              1. Bo Wei (former Chief Executive Officer, Baicells Technologies North America):

         5, 6, 7, 8


              2. Ronald Mao (Director of Carrier Solutions, Baicells Technologies North

         America): 6, 8, 15, 16


              3. Andy Yang (former Director of Engineering & Support, Baicells Technologies

         North America): 5, 6, 7, 8, 9, 10, 12, 13, 14


              4. Jesse Raasch (Chief Technology Officer & Vice President, Emerging Business,

         Baicells Technologies North America): 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 18,

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              5. Rick Harnish (Chief Marketing Officer, Baicells Technologies North America): 1,

         2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 18, 19


              6. Sharon Redfoot (Curriculum & Documentation Developer, Baicells Technologies

         North America): 17



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               7. Yunfeng Jiang (Cloud Architect, Baicells Technologies North America): 14


               8. Bai Wei (General Manager, International Market Division, Baicells Technologies

         Co., Ltd.): 3


               9. Sun Lixin (Chairman and Chief Executive Officer, Baicells Technologies Co.,

         Ltd.): 1, 2, 7


         INTERROGATORY NO. 19:                   Identify each document or exhibit that you intend to

  use or introduce at the preliminary injunction hearing on any other hearing in this case.

         ANSWER:          Baicells objects to this interrogatory as premature, as discovery in this

  case is ongoing, and Baicells has not yet received responses to its discovery requests to LigTel.

  Baicells further objects to this interrogatory to the extent that it calls for information protected by

  the attorney-client privilege and/or the work product doctrine. Subject to and without waiving its

  objections, Baicells will supplement its response to this interrogatory in advance of the

  preliminary injunction hearing or any other hearing in this case under Fed. R. Civ. P. 26(e) as

  necessary.


         INTERROGATORY NO. 20:                   Identify each witness you plan to call at the

  preliminary injunction hearing or any other hearing in this case, and for each such witness, state:

         (a) full legal name and title;

         (b) last known address;

         (c) the subject matter on which the witness is expected to testify;

         (d) if the witness is expected to testify as an expert witness, the individual’s qualifications

  and training, including professional and practical experience, educational institutions attended,

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  setting forth the dates for each educational institution, degrees obtained, and each place at which

  such individual received experience or training; and

         (e) the substance of the facts or opinion(s) as to which the witness is expected to testify.

         ANSWER: Baicells objects to this interrogatory as premature, as discovery in this case

  is ongoing, Baicells has not yet received responses to its discovery requests to LigTel, and

  Baicells has not yet developed a full list of witnesses it intends to call or subjects on which it

  expects such witnesses to testify. Baicells further objects to this interrogatory to the extent that it

  calls for information protected by the attorney-client privilege and/or the work product doctrine.

  Baicells will supplement its response to this interrogatory in advance of the preliminary

  injunction hearing or any other hearing in this case under Fed. R. Civ. P. 26(e) as necessary.

         Subject to and without waiving its objections, Baicells states that it intends to call, and/or

  submit declarations from, the following witnesses at this time:

         1) Jesse Raasch, 309 W. Washington Ave., Unit 510, Madison, WI 53703;

         2) Rick Harnish, 1125 Fawncrest Ct., Bluffton, IN 46714;

         3) Ronald Mao, available through counsel at Ice Miller LLP, One American Square, Suite

  2900, Indianapolis, IN 46282-0200; and

         4) Bo Wei, available through counsel at Ice Miller LLP, One American Square, Suite

  2900, Indianapolis, IN 46282-0200.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 24, 2020, I caused a true and correct copy of Defendants’

  Answers and Objections to Plaintiff’s First Set of Interrogatories to be served via electronic-mail

  on counsel of record for LigTel Communications, Inc.



                                               /s/ Eric J. McKeown
                                               Eric J. McKeown, Attorney No. 27597-49

  ICE MILLER LLP
  One American Square, Suite 2900
  Indianapolis, IN 46282-0200
  Phone: (317) 236-2100
  Fax: (317) 236-2219
  Eric.McKeown@icemiller.com
